Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 1 of 23 PageID #: 3212




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
DENNIS RAMOS, ED RODRIGUEZ, and EDWARD
KRALICK, individually and on behalf of all other
persons similarly situated who were employed by
TELGIAN CORPORATION and any other entities
affiliated with, controlling, or controlled by TELGIAN Docket No.: 14-cv-03422-PKC-LB
CORPORATION,

                                                Plaintiffs,
                       - against -

TELGIAN CORPORATION and any other entities
affiliated with, controlling, or controlled by TELGIAN
CORPORATION,
                                               Defendant.



            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    MOTION FOR INTERLOCUTORY APPEAL OF THE COURTS MARCH 31, 2016
      ORDER AND STAY OF THIS ACTION PURSUANT TO 28 U.S.C. § 1292(b)


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Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 2 of 23 PageID #: 3213




                                            TABLE OF CONTENTS


                                                                                                                  PAGE

TABLE OF AUTHORITIES........................................................................................... iii

PRELIMINARY STATEMENT ....................................................................................... 1

ARGUMENT................................................................................................................ 3

         PLAINTIFFS HAVE MET THE STANDARD FOR
         CERTIFICATION OF AN INTERLOCUTORY APPEAL

              A.      The Order Involves a Controlling Issue of Law ............................................ 3

              B.      There Is A Substantial Ground For Difference Of Opinions, As The
                      Second Circuit Has Not Addressed These Questions, And Courts Apply
                      Divergent Determinations ................................................................... 6

              C.      An Immediate Appeal Would Materially Advance the Ultimate
                      Termination of the Litigation and Promote Judicial ............................ 10

CONCLUSION ............................................................................................................ 17




                                                            ii
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 3 of 23 PageID #: 3214




                                               TABLE OF AUTHORITIES

                                                                                                                                 PAGE

CASES

Acumen Re Mgmt. Corp. v. General Sec. Nat’l Ins. Co.,
  2016 U.S.Dist.LEXIS 28804 (S.D.N.Y. 2016) ........................................................................... 4

Al Maya Trading Establishment v. Global Exp. Mktg. Co.,
  2014 U.S.Dist.LEXIS 96221 (S.D.N.Y. 2014) ........................................................................... 3

Anderson v. Mt. Clemens Pottery Co.,
  328 U.S. 680 (1946) .................................................................................................................. 14

Ayers v. SGS Control Servs.,
  2007 U.S.Dist.LEXIS 19634 (S.D.N.Y. 2007) ........................................................................... 8

Capitol Records, LLC v. Vimeo, LLC,
  972 F.Supp.2d 500 (S.D.N.Y. 2013) .................................................................................. passim

Chen v. Major League Baseball Properties, Inc.,
  798 F.3d 72, 81 (2d Cir. 2015) ................................................................................................ 7, 9

Costello v. Home Depot USA, Inc.,
  944 F.Supp.2d 199 (D.Conn. 2013) ............................................................................................ 7

Geron v Robinson & Cole LLP,
 2012 US Dist LEXIS 128678 (S.D.N.Y. 2012) ...................................................................... 6, 9

Glatt v. Fox Searchlight Pictures Inc.,
  2013 U.S.Dist.LEXIS 139594 (S.D.N.Y. 2013) ....................................................................... 11

Goodrow v. Lane Bryant, Inc.,
 432 Mass. 165 (2000) .................................................................................................................. 8

Guadagno v. Wallack Ader Levithan Assocs.,
 950 F.Supp. 1258 (S.D.N.Y. 1997) ........................................................................................... 13

Heder v. City of Two Rivers,
 295 F.3d 777 (7th Cir. 2002) ....................................................................................................... 7

Hoffmann-La Roche, Inc. v. Sperling,
 493 U.S. 165 (1989) .................................................................................................................. 12


                                                                    iii
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 4 of 23 PageID #: 3215




Hunter v. Sprint Corp.,
 453 F. Supp.2d 44 (D.D.C. 2006) ............................................................................................... 7

In re Currency Conversion Fee Antitrust Litig.,
  2005 U.S. Dist. LEXIS 16130 (S.D.N.Y. 2005) ....................................................................... 16

In re Enron Corp.,
  2007 U.S. Dist. LEXIS 70731 (S.D.N.Y. 2007) ......................................................................... 5

In re Facebook, Inc.
  986 F.Supp.2d 524 (S.D.N.Y. 2014) ........................................................................................... 3

In re WorldCom, Inc.,
  2003 U.S.Dist.LEXIS 11160 (S.D.N.Y. 2003) ........................................................................... 4

Khamsiri v. George & Frank's Japanese Noodle Rest. Inc.,
  2012 U.S. Dist. LEXIS 76660 (S.D.N.Y. 2012) ....................................................................... 12

Mian v. GPM Investments, LLC,
 896 F.Supp.2d 145 (D.Conn. 2012) ............................................................................................ 7

Morgan v. Family Dollar Stores, Inc.,
 551 F.3d 1233 (11th Cir.2008) .................................................................................................. 13

Morris v. Flaig,
 511 F.Supp.2d 282 (E.D.N.Y. 2007) ........................................................................................... 3

Myers v. Hertz Corp.,
 624 F.3d 537 (2d Cir. 2010) ...................................................................................................... 12

Primavera Familienstifung v. Askin,
  139 F.Supp.2d 567 (S.D.N.Y. 2001) ......................................................................................... 11

Ret. Bd. of the Policemen’s Annuity and Benefit Fund of the City of Chicago v. Bank of N.Y.
  Mellon, 2013 U.S.Dist.LEXIS 20214 (S.D.N.Y. 2013) .............................................................. 5

Salomon v. Adderley Indus.,
  847 F. Supp. 2d 561 (S.D.N.Y. 2012) ....................................................................................... 12

Sandifer v. U.S. Steel Corp.,
  2010 U.S. Dist. LEXIS 635 (N.D.Ind. 2010) ........................................................................... 10

Scott v. City of New York,
  591 F.Supp.2d 554 (S.D.N.Y. 2008) ......................................................................................... 14




                                                                 iv
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 5 of 23 PageID #: 3216




Sebelius v. Cloer,
  133 S. Ct. 1886 (2013) ................................................................................................................ 8

Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Secs. LLC,
  2010 U.S. Dist. LEXIS 3037 (S.D.N.Y. 2010) ........................................................................... 4

Siegel v. Bloomberg L.P.,
  2014 U.S.Dist.LEXIS 5602 (S.D.N.Y. 2015) ............................................................................. 6

Spataro v. Gov’t Employers Ins. Co.,
  2014 U.S.Dist.LEXIS 109068 (E.D.N.Y 2014) .......................................................................... 6

Transp. Workers Union, Local 100 v. N.Y.City Transit Auth.,
  358 F.Supp.2d 347 (S.D.N.Y. 2005) ......................................................................................... 10

Tyson Foods, Inc. v. Bouaphakeo,
  2016 U.S.LEXIS 2134 (2016) ............................................................................................. 14, 15

UFCW Local 1776 v. Eli Lilly & Co.,
 253 F.R.D. 69 (E.D.N.Y. 2008) ................................................................................................ 17

Wang v. Hearst Corp.,
 2013 U.S.Dist.LEXIS 92091 (S.D.N.Y. 2013) ................................................................... 17, 18

Watson v. Yolo County Flood Control & Water Conserv. Dist.,
 2007 U.S. Dist. LEXIS 84934 (E.D.Cal. 2007) ........................................................................ 10

Weber v. United States Trustee, 484 F.3d 154 (2d Cir. 2007) ........................................................ 6

Wechsler v. Hunt Health Sys., Ltd.,
 1999 U.S. Dist. LEXIS 13216 (S.D.N.Y. 1999) ...................................................................... 13

Wills v. RadioShack Corp.,
 981 F.Supp.2d 245 (S.D.N.Y. 2013) ........................................................................................... 9

Statutes

29 C.F.R 1292(b) ................................................................................................ passim

Code of Federal Regulations 29 C.F.R. § 778.114 ............................................... passim

Fair Labor Standards Act, 29 U.S.C. § 216(b) ........................................ 4, 7, 12, 13, 14




                                                                    v
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 6 of 23 PageID #: 3217




                                                                                                      PAGE
Other Authorities


An Empirical Study of Class Action Settlements and Their Fee Awards , 11, 12 tbl.2, 7 J.
    EMPIRICAL LEGAL STUD. (2010), available at
    http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1442108 ............................... 17

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   MEDIAN SETTLEMENT VALUE AT AN ALL-TIME HIGH 15 (2010), available
   at http://www.nera.com/nera-files/PUB_Year_End_Trends_l210.pdf ................... 17

LYNN LANGTON & THOMAS H. COHEN, CIVIL BENCH AND JURY TRIALS IN
   STATE COURTS, 2005 7 (2008), available at
   http://bjs.ojp.usdoj.gov/content/pub/pdf /cbjtsc05.pdf .......................................... 17

Table N/A – U.S. District Courts – Combined Civil and Criminal Federal Court
    Management Statistics (June 30, 2015) ................................................................ 16

THOMAS B. WILLGING, ET AL., EMPIRICAL STUDY OF CLASS ACTIONS IN
   FOUR FEDERAL DISTRICT COURTS, FINAL REPORT TO THE ADVISORY
   COMMITTEE ON CIVIL RULES 7 (1996), available at
   http://ftp.resource.org/courts.gov/fjc/rule23.pdf ................................................... 17

U.S. Department of Labor Field Operations Handbook § 32b04b(a) ............................ 10




                                                     vi
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 7 of 23 PageID #: 3218




                                        PRELIMINARY STATEMENT

         Plaintiffs Dennis Ramos, Ed Rodriguez, Edward Kralick, and Dan Emerson (“Plaintiffs”),

respectfully request that the Court certify its March 31, 2016 Order (“the Order”)1 for immediate

appeal, pursuant to 28 U.S.C. § 1292(b), and stay this action pending the determination of the

appeal. There are two controlling questions of law at issue in the Order, namely:

         (1)    whether the “Fluctuating Work Week” (“FWW”)2 method of payment allowed
         under the Fair Labor Standards Act (“FLSA”) requires that a worker’s work week fluctuate
         both above and below 40 hours per week; and

         (2)    whether the Telgian Corporation’s (“Defendant”) violation of the technical
         requirements of the FWW standard by failing to recalculate the employees’ regular rate of
         pay on a week-to-week basis – recognized by the Court in its Order – renders the FWW
         payment methodology unavailable to Defendant.

         In its Order, the Court made two key findings of law which will ultimately be the subject

of an appeal by the Plaintiffs, regardless of whether that appeal occurs immediately, or after trial.3

First, the Court held that, in order to avail itself of the FWW method of payment, a worker’s

workweek need not ever fluctuate below 40 hours in one week. [See Order, pp. 21-22, at Docket

No. 50]. Second, the Court found that, regardless of the fact that Defendant admittedly engaged

in a technical violation of the FWW requirements, this violation does not deprive the Defendant

of the use of the FWW payment methodology, as the Court found that this “vaunts form over

function.” [See Order, p. 30].

         In order for a Court to certify an order for interlocutory appeal pursuant to 28 U.S.C. §

1292(b), the Court must determine that: “such order involves a controlling question of law as to

which there is substantial ground for difference of opinion and that an immediate appeal from the



1
  The Order can be found at Docket No. 50.
2
  The FWW method of payment is governed by the Federal Regulation 29 C.F.R § 778.114 (“FWW Regulation”).
3
  Critically, the need to appeal this Court’s underlying findings prevents the parties from the possibility of amicably
resolving this action, as the Plaintiffs are required to appeal this Court’s determination, even if they prevail at trial on
the remaining issues.




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Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 8 of 23 PageID #: 3219




order may materially advance the ultimate termination of the litigation.” As set forth below, these

issues are controlling questions of law in this action. There is “substantial ground for difference[s]

of opinion” about both of these controlling questions, and resolution on appeal will “advance the

ultimate termination of th[is] litigation.” 28 U.S.C. § 1292(b). These questions are tailor-made for

§ 1292(b) review because neither the Supreme Court nor the Second Circuit have answered either

of these specific questions, and this Court’s Order is at odds with rulings of district courts in this

Circuit and the rulings of other circuits. Further, there can be no question that resolution of these

questions on appeal would “advance the ultimate termination of th[is] litigation,” as without a

certification for immediate appeal, this litigation could be subject to an extreme and costly

procedural quagmire.

        In response to the Court’s March 31, 2016 Order, and absent a Court ordered stay, Plaintiffs

will be moving for certification of this action as a collective action pursuant to 29 U.S.C. § 216(b)

and propagation of a notice to similarly-situated individuals of the pendency of this action. In the

event that this Court declines to certify an immediate appeal, such a motion for certification would

be followed by a trial on the issues of fact raised by the Court for the existing Plaintiffs and any

further potential opt-in Plaintiffs; followed by a subsequent appeal to the Court of Appeals

regardless of whether Plaintiffs win or lose at trial. If either of this Court’s holdings are reversed

by the Second Circuit at that point, the parties would then have to return to this Court and likely

re-brief the issue of collective certification, as the Second Circuit’s determination on these issues

may have an impact on whom this Court may find to be “similarly situated” under 29 U.S.C. §

216(b). In addition, the Court would have to address the issue of at what point potential Plaintiffs’

claims should be tolled from, and conduct a second trial covering many of the same issues as

covered at the first trial.




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Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 9 of 23 PageID #: 3220




         Determining these purely legal issues, which have never been addressed by the Second

Circuit, at this juncture will avoid the possibility of a second notice to the class and opt-in

procedure, and a second trial. For the reasons that follow, it is respectfully requested that this Court

enter an order certifying the Order for immediate appeal.

                                                   ARGUMENT

    PLAINTIFFS HAVE MET THE STANDARD FOR CERTIFICATION OF AN ORDER
                      FOR INTERLOCUTORY APPEAL

         Under 28 U.S.C. § 1292(b), the Court may permit a party to seek a permissive appeal of an

interlocutory order if it finds that the “order involves a controlling question of law as to which there

is a substantial ground for difference of opinion and that an immediate appeal from the order may

materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b).

         A “district court may certify an order for interlocutory appeal when it is of the opinion that

such order [1] involves a controlling question of law [2] as to which there is substantial ground for

difference of opinion and [3] that an immediate appeal from the order may materially advance the

ultimate termination of the litigation… The movant bears the burden of demonstrating that all three

of the substantive criteria are met.” Al Maya Trading Establishment v. Global Exp. Mktg. Co.,

2014 U.S.Dist.LEXIS 96221, *37, (S.D.N.Y. 2014); see also In re Facebook, Inc., 986 F.Supp.2d

524 (S.D.N.Y. 2014). Here, all three criteria are met.4

         A. The Order Involves A Controlling Question Of Law

         In connection with the first prong of the test, “the ‘question of law’ must refer to a ‘pure’

question of law that the reviewing court could decide quickly and cleanly without having to study


4
 As an initial matter, Plaintiffs’ motion for certification of an interlocutory appeal is clearly timely. “Neither Section
1292(b) nor Fed. R. Civ. P. 5(a), which governs petitions for permission to appeal, specify a time in which a party
must move for the order itself to be certified for interlocutory appeal. However, courts have held that any delay in
seeking amendment and certification must be reasonable.” Morris v. Flaig, 511 F.Supp.2d 282, 314 (E.D.N.Y. 2007).
Here, Plaintiffs have moved for certification of leave to appeal only 14 days after the underlying order was enter.




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Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 10 of 23 PageID #: 3221




the record. The question must also be ‘controlling,’ meaning that reversal of the district court's

order would terminate the action, or at a minimum that determination of the issue on appeal would

materially affect the litigation's outcome.” See Capitol Records, LLC v. Vimeo, LLC, 972

F.Supp.2d 500, 551 (S.D.N.Y. 2013) (internal citations and punctuation omitted); see also In re

WorldCom, Inc., 2003 U.S.Dist.LEXIS 11160, *29 (S.D.N.Y. 2003) (“In regard to the first prong,

the ‘question of law’ must refer to a ‘pure’ question of law that the reviewing court could decide

quickly and cleanly without having to study the record.”) (internal punctuation omitted); Sec.

Investor Prot. Corp. v. Bernard L. Madoff Inv. Secs. LLC, 2010 U.S. Dist. LEXIS 3037, *3

(S.D.N.Y. 2010) (“controlling questions of law” involve purely legal issues that the Second Circuit

can decide “without having to conduct extensive analysis and review of the underlying record”);

Acumen Re Mgmt. Corp. v. General Sec. Nat’l Ins. Co., 2016 U.S.Dist.LEXIS 28804, *7 (S.D.N.Y.

2016).

         Here, the Court’s holding that Plaintiffs’ schedules “fluctuated” as contemplated by the

FWW Regulation was premised on the finding of law that a worker’s regular workweek need not

ever fluctuate below forty hours per week in order to be “fluctuating” within the meaning of 29

C.F.R. § 778.114. [Order, at pp. 21-22]. Indeed, there is no dispute that Plaintiffs’ workweeks

entirely, or almost entirely, exceeded forty hours of work. Regardless, no extensive factual analysis

of the underlying record is necessary by the Second Circuit in order to determine the meaning of

the term “fluctuate” for purposes of the FWW Regulation.

         Similarly, there is no dispute – and, indeed, the Court has already held – that Defendant

failed to recalculate Plaintiffs’ regular rates of pay each week based on the number of hours

Plaintiffs actually worked, and that such failure was a “technical violation of the FWW.” [Order, p.

30]. Nevertheless, the Court held that this violation “vaunts form over function” and does not




                                                 4
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 11 of 23 PageID #: 3222




preclude Defendant from utilizing the FWW method to calculate Plaintiffs’ regular rates of pay.

Accordingly, the issue before the Second Circuit is purely legal: namely, whether it is permissible

for Defendant to utilize the FWW method without recalculating Plaintiffs’ regular rates of pay on

a week to week basis. “[T]his issue presents a controlling question of law. Because the issue turns

almost exclusively on a question of statutory interpretation, the reviewing court could decide it

quickly and cleanly without having to study the record.” Capitol Records, LLC, 972 F.Supp.2d at

552.

       There can also be no dispute that the “determination of the issue on appeal would materially

affect the litigation's outcome.” In re Enron Corp., 2007 U.S. Dist. LEXIS 70731, *7 (S.D.N.Y.

2007); see also Ret. Bd. of the Policemen’s Annuity and Benefit Fund of the City of Chicago v.

Bank of N.Y. Mellon, 2013 U.S.Dist.LEXIS 20214, *15 (S.D.N.Y. 2013) (an issue “is controlling

because reversal of the… Order, even though not resulting in dismissal, could significantly affect

the conduct of the action”) (internal punctuation omitted). Indeed, the parties bifurcated individual

and collective discovery in order to first resolve the issue of whether the FWW method was

properly implemented prior to wasting precious time and resources on potentially unnecessary

collective-wide discovery. [See Docket No. 13]. The same reasoning can be applied here. Absent

an interlocutory appeal, a post-judgment appeal of this Court’s rulings will follow regardless of

the outcome at trial. Any modification of this Court’s rulings by the Court of Appeals would

require a second notice period and opportunity to “opt-in” pursuant to 29 U.S.C. § 216(b); a

determination of when potential opt-ins’ claims should be tolled from for statute of limitations

purposes (potentially done years after the fact); and a second trial, which would be required to

address many of the same issues previously addressed in the first trial. This would involve an

enormous waste of scarce judicial resources – one of the main consequences the interlocutory




                                                 5
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 12 of 23 PageID #: 3223




appeal process is designed to avoid. See Weber v. United States Trustee, 484 F.3d 154, 159 (2d

Cir. 2007) (Congress passed 28 U.S.C. § 1292(b) “to avoid protracted litigation… [and] to assure

the prompt resolution of knotty legal problems”); Geron v Robinson & Cole LLP, 2012 US Dist

LEXIS 128678, *30 (S.D.N.Y. 2012) (certification of an appeal is appropriate where “the prompt

resolution of these issues on appeal will promote judicial economy”). Accordingly, Plaintiffs

respectfully request that the Court certify Plaintiffs’ application for an interlocutory appeal.

       B. There Is A Substantial Ground For Difference Of Opinions, As The Second
          Circuit Has Not Addressed These Questions, And Courts Apply Divergent
          Determinations

       In order for a Court to certify an order for interlocutory appeal, the Court must find that

there are “substantial grounds for difference of opinion” as to the outcome. “The second prong of

the test, that there exists a substantial ground for difference of opinion, is met when (1) there is

conflicting authority on the issue, or (2) the issue is particularly difficult and of first impression

for the Second Circuit.” Capitol Records, LLC, 972 F.Supp.2d at 551. Here, there is conflicting

authority on the issue, and it is one of first impression for the Second Circuit. “[T]he Second

Circuit has never commented on the FWW method.” Siegel v. Bloomberg L.P., 2014

U.S.Dist.LEXIS 5602 (S.D.N.Y. 2015).

       This Court determined that there is no requirement under the FWW methodology that a

worker’s hours must vary below 40 per week in order for an employer to utilize the FWW

methodology. Other courts from within this Circuit and outside this Circuit have held to the

contrary. See generally Spataro v. Gov’t Employers Ins. Co., 2014 U.S.Dist.LEXIS 109068, *9

(E.D.N.Y. 2014) (“the FWW method may be used only where the employee's hours actually

fluctuate above and below the normal forty-hour workweek”); Costello v. Home Depot USA, Inc.,

944 F.Supp.2d 199, 208 (D.Conn. 2013) (“the general spirit of what a FWW alternative method

attempted to achieve” requires some weeks far above forty hours and some less than forty hours);



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Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 13 of 23 PageID #: 3224




Mian v. GPM Investments, LLC, 896 F.Supp.2d 145, 150 (D.Conn. 2012) (“For a fluctuating work

week arrangement to make sense to both parties, employees should offset their relative loss from

a grueling work week far above forty hours with the benefit of full pay for weeks that clock-in at

less than forty hours. Otherwise, employees have not bargained for anything but decreasing

marginal pay as they work longer and longer hours at work”); see also Blotzer v. L-3 Communs.

Corp., 2012 U.S.Dist.LEXIS 173126, *40-41, (Dist.Ariz. 2012) (“The FWW was intended to

apply to ‘fluctuating’ work schedules, ie. schedules in which an employee endures long hours some

weeks but enjoys the benefit of short hours in other weeks, all at the same rate of pay. In the present

case, it is undisputed that Plaintiffs consistently worked more than 40 hours per week. Thus,

Plaintiffs' variance, between weeks with a moderate amount of overtime hours, and weeks where

a majority of hours worked exceeded the 40 hour threshold, is not the same as the up and down

fluctuation contemplated by the DOL and by the Court in Missel.”) (internal citations and

punctuation omitted); Heder v. City of Two Rivers, 295 F.3d 777, 779-780 (7th Cir. 2002); Hunter

v. Sprint Corp., 453 F. Supp.2d 44, 61 (D.D.C. 2006).

       It cannot be disputed that “[b]ecause the FLSA is a remedial law, exemptions are to be

narrowly construed against the employers seeking to assert them and their application limited to

those establishments plainly and unmistakably within their terms and spirit.” Chen v. Major

League Baseball Properties, Inc., 798 F.3d 72, 81 (2d Cir. 2015). Courts in this Circuit have held

that “the general spirit of what a FWW alternative method attempted to achieve” requires some

weeks far above forty hours and some less than forty hours. Costello, 944 F.Supp.2d at 208. Clearly

then, a substantial ground for difference of opinion on this issue exist, especially where the Second

Circuit has issued no opinions whatsoever regarding the issue.

       Likewise there is a substantial ground for differing opinions over whether Defendant is




                                                  7
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 14 of 23 PageID #: 3225




permitted to avail itself of the FWW method even though it did not recalculate Plaintiffs’ regular

rates of pay each week based on the hours Plaintiffs actually worked. Indeed, in the Court’s Order,

the Court even recognized, based on the “clear language of the regulation” and guidance from the

Department of Labor, that the requirement to recalculate Plaintiffs’ regular rates of pay each week

is mandatory. [Order, pp. 28-29]. Furthermore, the last sentence in the 1967 version of the US

Department of Labor Field Operations Handbook § 32b04b(a) (“FOH”) expressly permitted the

calculation method utilized by Defendant, stating “[i]f the employer to avoid weekly computations

chooses to pay extra half-time based on the salary divided by 40 hours, such a method is

permissible.” Just one year later, however, the Department of Labor promulgated the FWW

Regulation, 29 C.F.R. § 778.114. The text of the FWW Regulation was nearly identical to that of

FOH § 32b04b(a), except it omitted the last sentence that permitted an employer to “avoid weekly

computations.” See Goodrow v. Lane Bryant, Inc., 432 Mass. 165, 167-68 (2000) (explaining that

“this policy, minus the last sentence, was memorialized in 29 C.F.R. § 778.114, entitled ‘Fixed

salary for fluctuating hours,’ promulgated on January 26, 1968”). When a later regulation omits

words included previously in the law, such omission is meaningful and was done with full

knowledge and approval of its effect. See Sebelius v. Cloer, 133 S. Ct. 1886, 1894 (2013).

       In addition, other courts in this Circuit have held that additional payments to workers above

and beyond their normal weekly salary plus calculated overtime payments violates the FWW

method and results in the employer’s loss of the right to use it. See Wills v. RadioShack Corp., 981

F.Supp.2d 245, 261 (S.D.N.Y. 2013) (“courts had overwhelmingly held that § 778.114 forbade the

FWW method where hours-based premium pay caused a worker’s pay to vary by hours worked”);

Ayers v. SGS Control Servs., 2007 U.S.Dist.LEXIS 19634, *33 (S.D.N.Y. 2007) (“any Plaintiff

who received sea pay or day-off pay did not have ‘fixed’ weekly straight time pay, in violation of




                                                 8
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 15 of 23 PageID #: 3226




29 C.F.R. § 778.114(a)”). While this Court held that reliance on Defendant’s miscalculations to

remove their ability to rely upon the FWW method “vaunts form over function,” other Courts have

recognized that the FWW requirements “are to be interpreted narrowly against the employer…

and the employer bears the burden of showing that an exception applies.” Id. Once again, as stated

by the Second Circuit in Chen, the application of exemptions to the FLSA are “limited to those

establishments plainly and unmistakably within their terms and spirit.” Chen, 798 F.3d at 81. Here,

as the Court has already recognized, the clear language of the regulation and supporting guidance

by the Department of Labor mandate recalculation of an employee’s regular rate of pay on a

weekly basis.

       The lack of guidance from the Second Circuit and the variations among courts in this

District and other Circuits underscore the substantial grounds for differences of opinion sufficient

to warrant certification of the Order. Courts in this Circuit have acknowledged such a basis for

certifying immediate appeals in the past. See, e.g., Geron, at 745 (S.D.N.Y. 2012) (granting

certification where, inter alia, the “issues impact a large number of cases, and they present

substantial grounds for difference of opinion”). Other district courts have likewise certified pure

legal issues concerning liability under the FLSA prior to final judgment, when intra-district or intra-

circuit splits occur. See e.g., Watson v. Yolo County Flood Control & Water Conserv. Dist., 2007

U.S. Dist. LEXIS 84934*8-10, (E.D.Cal. 2007) (granting certification of interlocutory appeal

regarding the applicability FLSA exemption and acknowledging a “paucity” of relevant case law

and an intra-district split); Sandifer v. U.S. Steel Corp., 2010 U.S. Dist. LEXIS 635 (N.D.Ind. 2010)

(granting certification of FLSA issues because, inter alia, some courts held the same as it has, while

other courts and the DOL concluded to the contrary, constituting “substantial grounds for

differences of opinion”).




                                                  9
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 16 of 23 PageID #: 3227




       The fact that multiple courts within this District have come to contrary holdings on these

issues, and that the Second Circuit has never addressed them, means that substantial grounds for

difference of opinion exist as defined under 12 U.S.C. § 1292(b). See Capitol Records, at 552

(“although the Court remains of the view that 17 U.S.C. § 301(c) cannot be read to permit

application of the DMCA Safe Harbor to pre-1972 recordings, the Court recognizes that there

exists a substantial ground for difference of opinion on this issue. Indeed, Judge Pauley of this

Court reached the opposite conclusion… In view of the paucity of case law and these conflicting

conclusions, the Court finds that the second statutory factor has been satisfied.”).

       C. An Immediate Appeal Would Materially Advance the Ultimate Termination of
          the Litigation and Promote Judicial Economy

       The final criteria for certification of an interlocutory appeal is whether “resolution of this

issue will materially advance the termination of this case.” Transp. Workers Union, Local 100 v.

N.Y.City Transit Auth., 358 F.Supp.2d 347, 353 (S.D.N.Y. 2005). Determination of pure issues of

law on FLSA exemptions in cases such as this one are particularly appropriate for interlocutory

appeal. As Justice Pauley of the Southern District recently held:

               The appropriate [exemption] standard affects class certification;
               certification of the FLSA collective action; summary
               judgment granted in favor of [Plaintiffs]; and anticipated summary
               judgment motions for additional plaintiffs, the NYLL class, and the
               FLSA collective. Use of a different standard may obviate some of
               these steps, require decertification of the class or collective action,
               or simplify the issues for trial. Resolving this question now also
               avoids the possibility that a post-trial appeal would require a new
               trial applying a different standard. An immediate appeal therefore is
               likely to advance the ultimate termination of the litigation.

Glatt v. Fox Searchlight Pictures Inc., 2013 U.S.Dist.LEXIS 139594, *6-7 (S.D.N.Y. 2013).

       Here, all of these factors are in play. In the absence of an interlocutory appeal, Plaintiffs

will shortly be moving for collective-action certification under 29 U.S.C. § 216(b), and thereafter

will be conducting further discovery, and proceeding to trial, followed by an appeal of this Court’s




                                                 10
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 17 of 23 PageID #: 3228




determination regardless of the outcome at trial. In the event the Second Circuit then modifies

either of this Court’s determinations, this entire process would need to be repeated. “The

institutional efficiency of the federal court system is among the chief concerns underlying Section

1292(b).” Primavera Familienstifung v. Askin, 139 F.Supp.2d 567, 570 (S.D.N.Y. 2001).

       Regarding the first step of the upcoming litigation course, the FLSA, 29 U.S.C. § 216(b),

provides in pertinent part that:

               [a]n action…may be maintained against any employer (including a
               public agency) in any Federal or State court of competent
               jurisdiction by any one or more employees for and on behalf of
               himself or themselves and other employees similarly situated. No
               employee shall be a party plaintiff to any such action unless he gives
               his consent in writing to become such a party and such consent is
               filed in the court in which such action is brought.

This provision of the FLSA has been interpreted to establish an “opt-in” scheme in which plaintiffs

must affirmatively notify the court of their intentions to be a party to the suit. See Lynch v. United

Servs. Auto. Ass'n, 491 F. Supp. 2d 357, 367-69 (S.D.N.Y. 2007). The purpose of this provision

allows for an early and orderly prosecution of this action by advising all potential collective action

members of its pendency, and the basic nature of the claims. Furthermore, it insures against

inconsistent results through competing lawsuits by other aggrieved workers who may be

contemplating legal action.

       Importantly, early notice helps to preserve and effectuate the rights of potential plaintiffs

whose claims might otherwise become time-barred during the discovery phase of the case. This

reasoning has repeatedly been applied in FLSA collective actions similar to the instant action. See

e.g. Khamsiri v. George & Frank's Japanese Noodle Rest. Inc., 2012 U.S. Dist. LEXIS 76660, *4-

5 (S.D.N.Y. 2012) (“The Supreme Court has recognized that the benefits of collective action

accrue to plaintiffs only if they ‘receiv[e] accurate and timely notice concerning the pendency of




                                                 11
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 18 of 23 PageID #: 3229




the collective action’… [C]ourt-authorized notice is appropriate to prevent erosion of claims due

to the running statute of limitations, as well as to promote judicial economy.”) (quoting Hoffmann-

La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989)). In the event that any of this Court’s

determinations are modified after appeal, the question of collective action notice and certification

would have to be re-litigated, including a determination on equitable tolling issues regarding the

propriety of tolling of the claims of potential opt-in Plaintiffs who might not have been part of the

initial group provided with notice and opportunity to opt-in, should the Court grant the Plaintiffs’

motion for collective action certification.

       Further, Court-authorized notice to potential class members generally occurs prior to full

blown collective wide merits discovery, where courts determine whether the potential plaintiffs in

a class action are “similarly situated” in accordance with 29 U.S.C. § 216(b). Salomon v. Adderley

Indus., 847 F. Supp. 2d 561, 563 (S.D.N.Y. 2012) (citing Myers v. Hertz Corp., 624 F.3d 537, 554-

55 (2d Cir. 2010)). To show that they are “similarly situated” Plaintiffs “need only make a ‘modest

factual showing’ that they and potential opt-in plaintiffs ‘together were victims of a common

policy or plan that violated the law.’” Id. Plaintiffs can satisfy their burden by showing that “‘there

are other employees . . . who are similarly situated with respect to their job requirements and with

regard to their pay provisions.’” Id. (quoting Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233,

1258-62 (11th Cir.2008)).

       The factors which this Court would have to address, however, in determining Plaintiffs’

motion for collective certification and publication of an opt-in notice, may materially differ should

the Second Circuit modify this Court’s holdings after a post-judgment appeal by Plaintiffs, and

would have to be litigated twice and determined twice by this Court, potentially resulting in a

second notice and opt-in period being provided to an entirely different group of potentially




                                                  12
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 19 of 23 PageID #: 3230




similarly situated individuals. In addition, following the notice stage, further collective-wide

merits discovery needs to be conducted. In the event that the Second Circuit modifies this Court’s

Order, that discovery – following a second notice and opt-in period – would need to be conducted

again, as the issues determining Defendants’ potential liability and the potential damages available

to Plaintiffs may change.

       Finally, assuming no motion for decertification or other motions for summary judgment

are filed, the parties will need to prepare their pre-trial submissions, and proceed to trial. As the

parties prepare for trial, a number of pre-trial determinations will need to be litigated. Among them

are the admissibility of information shared by the parties during the discovery phase of the

litigation. Generally, answers to interrogatories “are treated by courts in this Circuit as ‘judicial

admissions’ that generally estop the answering party from later seeking to assert positions omitted

from, or otherwise at variance with, those responses.” Wechsler v. Hunt Health Sys., Ltd., 1999

U.S. Dist. LEXIS 13216, at *2 (S.D.N.Y. 1999); Guadagno v. Wallack Ader Levithan Assocs., 950

F.Supp. 1258, 1261 (S.D.N.Y. 1997) (stating that interrogatory responses are generally treated as

judicial admissions, and that “[a] judicial admission is conclusive, unless a court allows it to be

withdrawn”), aff'd 125 F.3d 844 (2d Cir. 1997). The discovery demands and responses required at

this juncture of the litigation will substantively differ between those which would be exchanged in

the event that the Second Circuit modifies, now or after trial, either of the Court’s determinations

challenged here by Plaintiffs. The issue of what discovery demands are made and responded to, as

well as what responses or admissions are admissible at trial, would need to be litigated twice.

       Further, the issue of what evidence Plaintiffs must provide in order to prove their case will

have to be litigated twice, in the event this action is not certified for an interlocutory appeal. The

burden Plaintiffs must meet in wage and hours cases was set forth by the United States Supreme




                                                 13
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 20 of 23 PageID #: 3231




Court in the seminal case of Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946). There,

the Supreme Court held that: “[t]he remedial nature of this statute and the great public policy which

it embodies, however, militate against making that burden an impossible hurdle for the employee.”

Id. at 687. See also Tyson Foods, Inc. v. Bouaphakeo, __ U.S. __, 194 L.Ed.2d 124, 2016

U.S.LEXIS 2134 (2016). The evidence which the Plaintiffs will have to put forth under the Court’s

current holdings will substantially and materially differ from that which they would be required to

put forth under a potentially revised standard at a second trial following a potential modification

by the Second Circuit after the first trial. Courts are required to rule on a number of factors

regarding trial requirements in FLSA trials, including the admissibility of expert testimony, the

amount and type of representative evidence required to be put forth, and the effect of compliance

or non-compliance with discovery obligations by opt-in Plaintiffs. See e.g., Scott v. City of New

York, 591 F.Supp.2d 554 (S.D.N.Y. 2008). Determinations which would substantively and

materially differ in the event that a second trial is held in this action following a post-judgment

appeal, and would thus have to be litigated and determined by this Court twice.

       In this District, the median time for a civil case to go to trial after filing in 2015 was 31.4

months. See Table N/A – U.S. District Courts – Combined Civil and Criminal Federal Court

Management            Statistics        (June          30,           2015),        available         at

http://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2015/06/30-1.

Class or collective actions, of course, take a substantially longer time to reach trial than ordinary

civil actions. See LYNN LANGTON & THOMAS H. COHEN, CIVIL BENCH AND JURY

TRIALS        IN       STATE         COURTS,           2005      7       (2008),      available      at

http://bjs.ojp.usdoj.gov/content/pub/pdf /cbjtsc05.pdf ("Class actions are unique in that they tend

to take longer to process than regular civil trials. In 2005, the 14 class action trials lasted 17 days




                                                  14
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 21 of 23 PageID #: 3232




on average. The total time from filing to disposition averaged 3.5 years.");5 THOMAS B.

WILLGING, ET AL., EMPIRICAL STUDY OF CLASS ACTIONS IN FOUR FEDERAL

DISTRICT COURTS, FINAL REPORT TO THE ADVISORY COMMITTEE ON CIVIL

RULES 7 (1996), available at http://ftp.resource.org/courts.gov/fjc/rule23.pdf (on average, class

actions take two to three times as long to litigate, from filing to disposition, as do civil non-class

actions); JORDAN MILEV ET AL., TRENDS 2010 YEAR-END UPDATE: SECURITIES

CLASS ACTION FILINGS ACCELERATE IN SECOND HALF OF 2010; MEDIAN

SETTLEMENT             VALUE         AT      AN      ALL-TIME          HIGH        15    (2010),      available      at

http://www.nera.com/nera-files/PUB_Year_End_Trends_l210.pdf; Brian T. Fitzpatrick, An

Empirical Study of Class Action Settlements and Their Fee Awards, 11, 12 tbl.2, 7 J. EMPIRICAL

LEGAL STUD. (2010), available at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1442108

         The many phases to follow in the course of this litigation – including the issuance of

collective action notice, motion practice, and discovery concerning damages and willfulness – will

be executed with far greater speed and certainty if the Second Circuit provides direction on the

questions that will pervade them. A change in the standard that comes sooner in the litigation

process could even stand to obviate certain steps in the litigation, further accelerating its termination

without leaving open questions as to the propriety of the terms of its resolution. Because a revised

legal standard would necessarily impact the Court’s rulings, it is clear that those questions should

be resolved prior to final judgment. Moreover, such resolution will advance judicial economy by

requiring only one Court to familiarize itself with the facts of this case, rather than having



         5
           The procedures for evidentiary determinations at trial are similar for class actions and collective actions.
See generally Tyson Foods, Inc. v. Bouaphakeo, 2016 U.S.LEXIS 2134 (2016) (The parties do not dispute that, in
order to prove a violation of the Iowa statute, the employees had to do no more than demonstrate a violation of the
FLSA. In this opinion, then, no distinction is made between the requirements [at trial] for the class action raising the
state-law claims and the collective action raising the federal claims”).




                                                          15
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 22 of 23 PageID #: 3233




“piecemeal appeals” as to various issues that will require the involvement of multiple courts. See,

e.g., In re Currency Conversion Fee Antitrust Litig., 2005 U.S. Dist. LEXIS 16130*19 (S.D.N.Y.

2005) (“Certification of an interlocutory appeal advances the interests of sound judicial economy

by having one three-judge panel familiarize itself with this case, instead of having piecemeal

appeals that require two (or more) three-judge panels”) (internal punctuation omitted).

       Many of the issues which this Court and the litigants will be required to address in the

remaining course of the litigation are dependent upon a ruling on the issues outlined above, which

will be appealed to the Second Circuit, regardless of whether that appeal occurs now, or after trial.

A narrowing of the issues to be further litigated would accomplish the goal of judicial economy, by

obviating the need to re-litigate issues should the Second Circuit modify either of this Court’s

holdings. See, e.g. Capitol Records, LLC, at 552. “If the Second Circuit provides clarification or a

different legal standard, it will guide a resolution of the outstanding issues pending in the Circuit.

As the cases suggest, an appeal should be considered if it will advance the ultimate termination of

the litigation.” Wang v. Hearst Corp., 2013 U.S.Dist.LEXIS 92091, *7 (S.D.N.Y. 2013).

       Certification for interlocutory appeal is appropriately granted where a summary judgment

decision “involves a controlling question of law as to which there is substantial ground for

difference of opinion and that an immediate appeal from the Order may materially advance the

ultimate termination of the litigation.” UFCW Local 1776 v. Eli Lilly & Co., 253 F.R.D. 69

(E.D.N.Y. 2008). Here, it cannot be argued that determination of this issues which will be appealed

to the Second Circuit by Plaintiffs following a judgment at trial – even if that judgment is in their

favor – will materially advance the ultimate termination of the litigation, and avoid the waste of

scarce judicial resources. For this reason, it is respectfully requested that this Court issue an Order

certifying this matter for interlocutory appeal pursuant to 12 U.S.C. § 1292(b). Further, for these




                                                  16
Case 1:14-cv-03422-LB Document 59-1 Filed 04/14/16 Page 23 of 23 PageID #: 3234




same reasons, should this Court grant Plaintiffs’ motion, it is respectfully requested that this Court

issue a stay of the proceedings pending the appeal. See, e.g. Wang, at 7 (“The underlying case will

be stayed during the pendency of this motion and if the appeal is granted the stay will continue to

the date of the Circuit’s decision”).

                                          CONCLUSION

       Wherefore, for the reasons stated above, Plaintiffs respectfully request that the Court grant

Plaintiffs’ application for interlocutory appeal of the Court’s March 31, 2016 Order, and stay this

action pending the Second Circuit’s review.

Dated: New York, New York
       April 14, 2016

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                                                 17
